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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    DEL RIO DIVISION

United States of America                        §
                                                §
vs.                                             §      NO: DR:21-M -00108(1)
                                                §
(1) William Smith                               §

                         ORDER OF DETENTION PENDING TRIAL

      In accordance with the Bail Reform Act, 18 U.S.C. 3142(f), a preliminary and detention

hearing has been held. I conclude that the following facts require the detention of the defendant

pending trial in this case.

                                       I. Findings of Fact

        I find that the credible testimony and information submitted at the hearing establishes by

clear and convincing evidence that there is probable cause to believe that the Defendant

committed the offense alleged in the criminal Complaint, violation 8:1324            Conspiracy to

Transport Aliens, for which a sentence of up to ten years in prison is prescribed.

        Assistant United States Attorney Steven Kam        called Agent Joey Olivas to testify.

Defendant is a citizen of United States smuggling aliens in the Western District of Texas.

        Based on the information in the pretrial services report and       Defendant’s extensive

criminal history, the Court finds by clear and convincing evidence that the Defendant poses a

serious danger to the community. Because of the potential sentence if convicted, the Court

concludes that the Defendant poses a serious risk of flight. Additionally the Court concludes

there are no conditions or combination of conditions that will reasonably assure the appearance

of the Defendant as required or to ensure the safety of the community.
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        Accordingly,    the Court concludes that Defendant be DETAINED as there are no

conditions or combinations of conditions      that would reasonably assure the Defendant’s

appearance in court and the safety of the community.

                              II. Directions Regarding Detention

       The Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practical, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of theCourt of the United States or on request of an attorney for the Government, the

person in charge of the corrections facility shall deliver the Defendant to the United States

Marshal for the purpose of an appearance in connection with a court proceeding.



           SIGNED on 5th day of February, 2021




                                                ______________________________
                                                VICTOR ROBERTO GARCIA
                                                UNITED STATES MAGISTRATE JUDGE
